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3

4                              UNITED STATES DISTRICT COURT

5                                       DISTRICT OF NEVADA

6                                                   ***

7     RICHARD GALLO,                                      Case No. 3:19-cv-00299-MMD-WGC

8                                     Plaintiffs,                     ORDER
             v.
9
      RICHARD SNYDER, et al.,
10
                                    Defendants.
11

12          On June 3, 2019, Plaintiff Richard Gallo (#23128) initiated this prisoner civil rights

13   action under 42 U.S.C. § 1983 when he was in the custody of the Nevada Department of

14   Corrections (“NDOC”). (ECF No. 1-1). On April 22, 2020, the Court confirmed from the

15   NDOC inmate database that Plaintiff died on April 18, 2020.

16          Pursuant to Federal Rule of Civil Procedure 25(a)(1), “[i]f a party dies and the claim

17   is not extinguished, the court may order substitution of the proper party. A motion for

18   substitution may be made by any party or by the decedent’s successor or representative.

19   If the motion is not made within 90 days after service of a statement noting the death, the

20   action by or against the decedent must be dismissed.” Fed. R. Civ. P. 25(a)(1). As such,

21   if there is no motion for substitution filed within 90 days from the date of this order, the

22   Court will dismiss the case.

23          For the foregoing reasons, it is ordered that the Court will dismiss this case in 90

24   days from the date of this order if there is no motion for substitution filed pursuant to

25   Federal Rule of Civil Procedure 25(a)(1).

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1          It is further ordered that the application to proceed in forma pauperis (ECF No. 1)

2    is denied as moot.

3          DATED THIS 15th day of May 2020.

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                                             MIRANDA M. DU
6                                            CHIEF UNITED STATES DISTRICT JUDGE

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